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                   NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

NESSIA DILLARD,                          )
                                         )
               Plaintiff,                )    Civil Action No.
                                         )    1:18-cv-00752-MLB
V.                                       )
                                         )
LEROY SMITH, JR., and                    )
MARTEN TRANSPORT, LTD.,                  )
                                         )
               Defendants.               )


STIPULATION OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
              PURSUANT TO RULE 41(a)(A)(ii)

      NOW COME the parties NESSIA DILLARD, LEROY SMITH, JR., AND

MARTEN TRANSPORT, LTD., through undersigned counsel, and pursuant to

Federal Rule of Civil Procedure 41(a)(A)(ii) jointly file this Stipulation of

Voluntary Dismissal Without Prejudice Pursuant to Rule 41(a)(A)(ii) as to the

entire case.

                  CERTIFICATE OF FONT COMPLIANCE

      The undersigned counsel hereby certify that the foregoing has been

prepared with one of the font and point selections approved by the Court in

Local Rule 5.1. It is prepared in Century Schoolbook font, 12 point.

      Dated: August 29, 2018.

Respectfully Submitted,


/s/ Mitchell E. McGough
Mitchell E. McGough
Georgia Bar No.: 460942
Mitchell E McGough Law, LLC


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                 NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

NESSIA DILLARD,                          )
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             Plaintiff,                  )    Civil Action No.
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V.                                       )
                                         )
LEROY SMITH, JR., and                    )
MARTEN TRANSPORT, LTD.,                  )
                                         )
             Defendants.                 )


                       CERTIFICATE OF SERVICE

      I hereby certify that on August 29, 2018, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system which will

automatically send email notification of such filing to the following attorneys

of record:

                                Richard C. Foster, Esq.
                          Swift Currie, McGhee & Hiers, LLP
                          1355 Peachtree Street, Suite 30309
                                Atlanta, Georgia 30308

Dated: August 29, 2018.

                                              Respectfully Submitted,

                                              /s/ Mitchell E. McGough
                                              Mitchell E. McGough
                                              Georgia Bar No.: 460942




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